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                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                           CRIMINAL NO. 20-055

 VERSUS                                             SECTION “I”
                                                    JUDGE LANCE M. AFRICK
 JASON R. WILLIAMS
 NICOLE E. BURDETT                                  MAGISTRATE (4)
                                                    MAGISTRATE JUDGE ROBY

 UNITED STATES OF AMERICA                           CRIMINAL NO. 20-139

 VERSUS                                             SECTION “I”
                                                    JUDGE LANCE M. AFRICK
 NICOLE E. BURDETT
                                                    MAGISTRATE (3)
                                                    MAGISTRATE JUDGE DOUGLAS


                 DEFENSE’S SECOND SUPPLEMENTAL EXHIBIT LIST

       Jason R. Williams and Nicole E. Burdett submit the following second supplemental list of

exhibits which may be introduced at the trial of the above matter. Defendants reserve their right to

supplement this list.

            #                        Description                               Bates

                 24/10 - Marriage license of Troy Waguespack and         G0110690
       1.        Nicole E. Burdett
                 09/21/10 - Separate property agreement between          G0110692
       2.        Waguespack and Burdett
       3.        02/13/20 - UNO Transcript for Nicole E. Burdett         G0021439
                 Loyola Transcript for Nicole E. Burdett                 G0087748 –
       4.                                                                G0087750
                 04/26/10 - Nicole E. Burdett’s Special Warranty         G0111771 –
       5.        Deed for 451 Hooper Dr.                                 G0111788
                 10/29/14 Email between Henry Timothy and Nicole         G0044881 –
       6.        Burdett; re 2013 taxes                                  G0044896
                 09/25/15 Email between Henry Timothy and Nicole         G0044897 –
            a.   Burdett; re Interim P&L Statement as of 08/30/15        G0044898
                 11/04/15 Email between Henry Timothy and Nicole         G0044900 –
            b.   Burdett; re Interim P&L Statement as of 09/30/15        G0044904


                                                                                         #100521503v1
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       #                      Description                           Bates

            06/21/17 Email between Henry Timothy and Nicole     G0044905 –
       c.   Burdett; re 2016 Tax Return for NEB                 G0044918
            06/21/17 Email between Henry Timothy and Nicole     G0044919 –
       d.   Burdett; re 2016 Tax Return for Troy M Waguespack   G0044931
            05/16/18 Email between Henry Timothy and Nicole     G0044932 –
       e.   Burdett; re TMW Filing Payment Voucher              G0044934
            01/19/17 Email between Henry Timothy and Nicole     G0044935 –
       f.   Burdett; re Taxes 2016 - 1099                       G0044936
            06/21/17 Email between Henry Timothy and Nicole     G0044937 –
            Burdett; re 2016 Tax Return for Taylor C            G0044940
       g.   Waguespack
            08/28/17 Email between Henry Timothy and Nicole   G0044941 –
       h.   Burdett; re 2015 Tax Return for R Hjortberg       G0044956
            01/05/18 Email between Henry Timothy and Nicole   G0044957 –
       i.   Burdett; re Taxes 2017 - 1099                     G0044958
            05/15/18 Email between Henry Timothy and Nicole   G0044959 –
       j.   Burdett; re JRW Filing Payment Voucher            G0044960
            08/23/18 Email between Henry Timothy and Nicole   G0044963 –
       k.   Burdett; re NEB 2018 Estimated Tax                G0044969
            12/15/18 Email between Henry Timothy and Nicole   G0044970 –
       l.   Burdett; re Troy’s LDR Notice of 2014 Filing      G0044973
            01/08/19 Email between Henry Timothy and Nicole   G0044974 –
       m.   Burdett; re 1099 for JRW and Associates 2018      G0044975
            Text messages Burdett with Bubby                  D_199 –
 7.                                                           D_262
            July 9 Text messages Burdett with Bubby           G0001206 –
       a.                                                     G0001209
            10/15/14 – Henry Timothy, CPA - Invoice (reads    G0044882 –
 8.         CPA) (various returns)                            G0044975
            06/02/21 - Burdett Legal Consulting Articles of   G0110538 –
 9.         Organization                                      G0110554
            Examples from receipt books, years 2015, 2016,    G0001441 -
 10.        2017, 2018, 2019                                  G0001523
            Example from TopDogLegal Cash Receipts 01/01/13 G0001524 –
 11.        – 12/31/19                                        G0001557
            Jason Rogers Williams, Federal Criminal Defense,  G0009496
 12.        Website entry
            04/27/15 - Operating Agreement of Unglesby and    G0001210 -
 13.        Williams LLC                                      G0001221
            2014 – Burdett Legal Envelope (car sale/purchase, G0081876 –
 14.        children school info, NEB health insurance info   G0081949
            2015 Taxes Envelope (Burdett Legal Consulting,    G0081950 –
 15.        Nicole Burdett, dependents)                       G0082082


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       #                      Description                           Bates

           2016 Envelope (Burdett Legal Consulting, Nicole      G0082083 –
 16.       Burdett, claim dependents, Chase Bank info)          G0082200
           2017 Taxes Envelope (Burdett Legal Consulting,       G0082201 –
 17.       claim dependents, Uber info)                         G0082320
           2015 Tax Documents for Jason R. Williams             G0001088 –
 18.                                                            G0001201
           07/09/18 – Email from Westmorland to Burdett re      G0001202 -
 19.       2015 UW Taxes                                        G0001205
 20.       2016 – Burdett’s Form 8879 - Authorization to e-file G0084819
           09/03/20 – Electronically Filed Form 1040 of Troy    G0110316 -
           Waguespack for tax year 2013 - $57,053 in wages,     G0110332
 21.       $56,039 after deductions
           09/03/20 – Electronically Filed Form 1040 of Troy    G0110333 -
           Waguespack for tax year 2014 - $64,523 in wages,     G0110346
 22.       $65,442 AGI
           09/03/20 – Electronically Filed Form 1040 of Troy    G0110347 -
           Waguespack for tax year 2015 - $73,463 in wages,     G0110359
 23.       $74,763 AGI
           09/03/20 – Electronically Filed Form 1040 of Troy    G0110360 -
           Waguespack for tax year 2016 - $74,612 in wages,     G0110376
 24.       $73,313 AGI
           09/03/20 – Electronically Filed Form 1040 of Troy    G0110377 –
           Waguespack for tax year 2017 - $73,195 in wages,     G0110389
 25.       $73,314 AGI
           2012 - Troy Waguespack changed filing status from G0081843 –
 26.       head of household to married filing separately       G0081854
           2012 - Nicole Burdett changed filing status.         G0081857 –
 27.                                                            G0081867
           02/02/18 - Deposit checks for $402,242.78            G0013891 -
 28.                                                            G0013897
           02/05/18 - Nicole’s fee share on 4 civil cases check G0013901
 29.       for $177,635.00
           01/01/19 - Chase statement reflecting deposit of     G0002236 –
 30.       $1,404,176.99 (settlement)                           G0002241
 31.       11/09/18 - Kevin Conley text to Nicole               D_054
           Taxes for 2018 - Jason Williams’ Chase Account       G0056520 –
 32.       Statements                                           G0055679
           02/19/19 – Email from Burdett to Hienz re JRW &      G0056704 –
           Associates Balance Sheet for 2018 (with              G0056707
 33.       attachments)
           02/19/19 - JRW & Associates P&L Statement for        G0056706 –
 34.       2018                                                 G0056707



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       #                       Description                             Bates

           02/12/19 – Email from Burdett to Hienz & Macaluso      G0056713 –
           re Taxes for 2018 (asked Jason to highlight his        G0056714
 35.       statements for business purposes)
           02/11/19 - Email from Burdett to Hienz & Macaluso      G0056719 –
           re Update PNL (asked Nicole to re-run the reports to   G0056722
 36.       exclude personal)
           Nicole provided Jason’s 2017 return to Hienz &         G0056721 (no
 37.       Macaluso (no attachments)                              attachments)
           02/11/19 – Email from Burdett to Hienz re Fwd:         G0056725 -
           JRW tax statement (re-ran the reports to exclude       G0056728
 38.       personal)
           12/14/18 – Email from Kevin Conley to Hienz re         G0056735 –
 39.       Nicole’s and Troy’s past returns                       G0056737
           2018 Tax Return of Nicole E. Burdett                   G0082624 –
 40.                                                              G0082734
           02/10/20 Memo of Activity w Nicole Burdett, ¶ 18       G0082317 -
 41.                                                              G0082320
           Cash Receipts Top Dog Legal Entry; 01/01/13 –          G0001524 -
 42.       12/31/17                                               G0001551
           04/01/14 & 06/01/19 – Robert W. Hjortsberg’s           D_187 – D_188
 43.       Contractual Employment Agreement
           07/18/17 – Jason Roger Williams & Associates,          G0013624
 44.       LLC’s $3,000.00 cash deposit
           08/23/17 - Top Dog Legal Entry, $10,000.00 check       G0001550
 45.       received; Kieffer_Jerome_JRW
           01/09/18 - Top Dog Legal Entry $5,000.00 check         G0001552
 46.       received; Kieffer_Jerome_JRW
           08/10/17 – Cashier’s Check for $10,000 to Jason        G0008452
 47.       Williams & Associates
 48.       08/11/17 – Remote Online Deposit for $10,000.00 -      G0002130
           01/10/18 – Substitute document for an electronic       G0013862
 49.       ticket for $5,000.00
           Cash Receipts Top Dog Legal Entry, 01/01/18 –          G0001552 –
 50.       12/31/18                                               G0001555
           01/16/18 – Deposit slip for Cash, $3,000.00            G0013864
 51.       (payment of firm’s 1/3 share)
           01/29/18 – Deposit slip for Cash, $2,500.00            G0013873
 52.       (payment of firm’s 1/3 share)
           IOLTA Trust Account w Chase; 04/18/15 – 02/28/18    G0001558 -
 53.                                                           G0001655
           02/01/18 - Check No. 1077 for $10,500.00 from trust G0093282
           account to operating account (memo: cont fee –
 54.       Dwayna Butler)


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       #                      Description                             Bates

           02/01/18 - Check No. 1078 for $602.42 from trust      G0093283
           account to operating account (memo: cost – Dwayna
 55.       Butler)
           02/01/18 - Check No. 1079 for $16,253.54 from trust   G0014311
           account to Dwayna Butler (memo: final proceeds
 56.       DOA 03/06/17)
           01/30/18 - ESIS Check, $27,355.96 re: Dwayna          G0014297
           Butler, Settlement of any and all claims obo
 57.       Scottwood Realty Company
 58.       02/01/18 – Dwayna Butler Disbursement agreement       D_036
 59.       Top Dog Legal Entry                                   G0001554
           01/02/19 - Lindsey Daniels Receipt for $2,000.00 re   G0001518
 60.       legal services, Zarius Brown
 61.       04/16/18 – Closed - Lindsey Dykes File, 2702          D_007 - D_035
 62.       Defendant Copy Discovery, Lindsey Daniels             D_037 - D_053
 63.       Lynsey Daniels File, 2733                             D_057 - D_081
           11/09/18 - Conley’s text to Burdett                   G0106600 -
 64.                                                             G0106602
           11/13/18 – Email from Conley to Burdett re notes      G0106668 -
 65.       and information gathering document                    G0106670
           2016 Form 1040 - Jason R. Williams                    G0000151 –
 66.                                                             G0000182
           2016 Form 4868 - Application for Automatic            G0000341
 67.       Extension of Time JRW
           12/31/13 - JRWA General Ledger                        G0000352 –
 68.                                                             G0000716
           2016 Form 1040 – Nicole E. Burdett                    G0081566 –
 69.                                                             G0081589
           2016 Form 4868 - Application for Automatic            G0081628 –
 70.       Extension of Time NEB                                 G0081630
           The Law Office of Robert W. Hjortsberg, L.L.C.        D_001 – D_002
 71.       Secretary of State
 72.       Unglesby & Williams, LLC Secretary of State           D_003 – D_004
           01/04/18 - Arthur Johnson Detention Hearing (R.       D_005 – D_006
 73.       Hjortsberg, counsel) - D_005
 74.       06/28/20 - Lindsey Daniels Fee – Theft                D_055
 75.       06/28/20 - Lindsey Daniels Fee – Invasion             D-056
           IRS Form 8300 (Report of Cash Payments Over           N/A
 76.       $10,000 Received in a Trade or Business) (Blank)
           10/20/19 – Email from Brooks Quality Painting and     G0125155
           Contracting to Lori H. Marable re Additional
 77.       Summons Information
           B&B Response to GJS #57                               G0044726 –
 78.                                                             G0044880

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       #                        Description                          Bates

            04/24/2019 - FBI report regarding Henry Timothy      G0009554 –
 79.                                                             G0009556
            11/06/2019 – FBI report with FBI Financial Analyst   G0009699 –
 80.        J. Zeringue regarding Henry Timothy                  G0009705
            2017.03.28 - MOI of Henry Timothy                    G0021552 -
 81.                                                             G0021556
            2014 - Preparer Information re H. Timothy            G0109460 –
 82.                                                             G0109461
            2015 - Preparer Information re H. Timothy            G0109462 –
       a.                                                        G0109463
            2016 - Preparer Information re H. Timothy            G0109464 –
       b.                                                        G0109465
 83.        10/15/20 - MOC re Henry Timothy                      G0109494
            IRS Report regarding Henry Timothy                   G0072872 –
 84.                                                             G0072888
            Appendix A                                           G0072889 -
       a.                                                        G0072891
            Appendix B                                           G0072979 -
                                                                 G0073000 &
                                                                 G0073007 –
       b.                                                        G0073032
            Henry Timothy Jr and Becky Timothy –                 G0072892 –
            Electronically Filed 2013 U.S. Individual Income     G0072911
 85.        Tax Return, Form 1040
            Schedule C                                           G0072902 –
       a.                                                        G0072906
            Henry Timothy Jr and Becky Timothy - 2013 IRS        G0072912 –
 86.        Transcript of Account                                G0072913
            Henry Timothy Jr and Becky Timothy –                 G0072914 –
            Electronically Filed 2014 U.S. Individual Income     G0072934
 87.        Tax Return, Form 1040
            Schedule C                                           G0072925 –
       a.                                                        G0072929
            Henry Timothy Jr and Becky Timothy - 2014 IRS        G0072935 –
 88.        Transcript of Account                                G0072936
            Henry Timothy Jr and Becky Timothy –                 G0072937 –
            Electronically Filed 2015 U.S. Individual Income     G0072955
 89.        Tax Return, Form 1040
            Schedule C                                           G0072946 –
       a.                                                        G0072950
            Henry Timothy Jr and Becky Timothy - 2015 IRS        G0072956 –
 90.        Transcript of Account                                G0072957



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       #                        Description                          Bates

            Henry Timothy Jr and Becky Timothy –                G0072958 –
            Electronically Filed 2016 U.S. Individual Income    G0072976
 91.        Tax Return, Form 1040
            Schedule C                                          G0072969 –
       a.                                                       G0072972
            Henry Timothy Jr and Becky Timothy - 2016 IRS       G0072977 –
 92.        Transcript of Account                               G0072978
            Henry Timothy Jr and Becky Timothy –                G0072979 –
            Electronically Filed 2017 U.S. Individual Income    G0073000
 93.        Tax Return, Form 1040
            Schedule C                                          G0072988 –
       a.                                                       G0072994
            Preparer Information Report                         G0073001 –
 94.                                                            G0073006
            Henry Timothy Jr and Becky Timothy –                G0073007 –
            Electronically Filed 2018 U.S. Individual Income    G0073032
 95.        Tax Return, Form 1040
            Schedule C                                          G0073020 –
       a.                                                       G0073023
            Memorandum of Contact dated May 15, 2018            G0073033 –
 96.                                                            G0073034
                                                                G0073035 –
            Memorandum of Interview dated May 22, 2019
 97.                                                            G0073038
                                                                G0073039 –
            Memorandum of Contact dated July 18, 2018
 98.                                                            G0073040
            Memorandum of Contact dated August 13, 2019         G0073041 –
 99.                                                            G0073042
            Deposit Analysis -Capital One- Cajun Construction   G0072889 –
 100.       Business Account # Redacted 3822 -2013              G0072891
            Deposit Analysis - Henry and Becky Timothy Bank     G0072889 –
 101.       Account # Redacted 9480 -2013                       G0072891
            Deposit Analysis - Capital One - Henry and Becky    G0072889 –
 102.       Timothy Account # Redacted 9480-2013                G0072891
            Deposit Analysis - Home Bank - Henry and Becky      G0072889 –
 103.       Timothy- Account # Redacted 9802-2013               G0072891
            Deposit Analysis - Iberia - Henry and Becky         G0072889 –
 104.       Timothy Acct# Redacted 8198 -2013                   G0072891
            Deposit Analysis - Henry and Becky Timothy-         G0072889 –
 105.       Account # Redacted 9480- Capital One -2014          G0072891
            Deposit Analysis -Capital One- Henry Timothy        G0072889 –
 106.       Account # Redacted 5515 -2014                       G0072891
            Deposit Analysis - Iberia - B&B Accounting          G0072889 –
 107.       Services, LLC - Account # Redacted 0290-2014        G0072891


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    #                       Description                             Bates

        Deposit Analysis - Henry and Becky Timothy-            G0072889 –
 108.   Account # Redacted 3822- Capital One -2014             G0072891
        Deposit Analysis - Iberia - Henry and Becky            G0072889 –
 109.   Timothy Acct # Redacted 8198 -2014                     G0072891
        Deposit Analysis - Iberia - B&B Accounting             G0072889 –
 110.   Services, LLC - Account # Redacted 0290-2015           G0072891
        Deposit Analysis - Iberia - B&B Accounting             G0072889 –
 111.   Services, LLC - Account # Redacted 0290-2016           G0072891
        Deposit Analysis - Henry and Becky Timothy-            G0072889 –
 112.   Account # Redacted 3822- Capital One 2015-2016         G0072891
        Henry Timothy & Becky Timothy - Personal               G0073044
        Account - Account Number # Redacted 8198               G0073045
        Signature Card dated April 3, 1999. [These
        documents may only be used for cross-examination if
 113.   necessary]
        Henry Timothy & Becky Timothy - Personal               G0073046 –
        Account - Account Number # Redacted 8198 - Bank        G0073189
        Statements from January 2014 to April 2018. [These
        documents may only be used for cross-examination if
 114.   necessary]
        B&B Accounting Services LLC Account # Redacted         G0073459 -
        0290 - Signature Card dated January 28, 2014.          G0073460
        [These documents may only be used for cross-
 115.   examination if necessary]
        B&B Accounting Services LLC Account # Redacted         G0073461
        0290 - Bank Statements and Deposits from February      G0075779
        2014 to May 2018. [These documents may only be
 116.   used for cross-examination if necessary]
        Cajun Construction & Development LLC – Cajun           G0075780 –
        Construction & Development LLC # Redacted 3822         G0075783
        -Signature Card. [These documents may only be used
 117.   for cross-examination if necessary]
        Cajun Construction & Development LLC – Cajun           G0075790 –
        Construction & Development LLC # Redacted 3822         G0075927
        –Bank Statements. [These documents may only be
 118.   used for cross-examination if necessary]
        Cajun Construction & Development LLC – Cajun           G0075928 –
        Construction & Development LLC # Redacted 3822         G0075933
        –Deposits. [These documents may only be used for
 119.   cross-examination if necessary]
        Henry Timothy - Individual Bank Account #              G0075934
        Redacted 5515 – Signature Card. [These documents
 120.   may only be used for cross-examination if necessary]


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    #                       Description                              Bates

        Henry Timothy - Individual Bank Account #               G0075935 -
        Redacted 5515 Bank Statements. [These documents         G0076074
 121.   may only be used for cross-examination if necessary]
        Henry Timothy - Individual Bank Account #               G0076075 –
        Redacted 5515 – Deposits. [These documents may          G0076172
 122.   only be used for cross-examination if necessary]
        Henry Timothy or Becky Timothy - Joint Account #        G0076173 –
        Redacted 9480 - Bank Statements. [These                 G0076246
        documents may only be used for cross-examination if
 123.   necessary]
        Henry Timothy or Becky Timothy - Joint Account #        G0076247 -
        Redacted 9480 – Deposits. [These documents may          G0077792
 124.   only be used for cross-examination if necessary]
        ERO Info and information for Pro Series. [These         G0077793
        documents may only be used for cross-examination if
 125.   necessary]
        Henry Timothy or Becky Timothy - Joint Account #        G0077794
        Redacted 9802 - Signature Card dated March 29,
        2012. [These documents may only be used for cross-
 126.   examination if necessary]
        Henry Timothy or Becky Timothy - Joint Account #        G0077795 –
        Redacted 9802 - Bank Statements. [These                 G0077961
        documents may only be used for cross-examination if
 127.   necessary]
        Henry Timothy or Becky Timothy - Joint Account #        G0077962 –
        Redacted 9802 – Deposits. [These documents may          G0078053
 128.   only be used for cross-examination if necessary]
        Jeanette Murphy, Custodian of Records A Insurance       G0078054 –
 129.   Depot; Accounting Transcript - A Insurance Depot        G0078056
        2019.09.26 – Letter to Lori Marable from Raeon          G0073043
        Williams, Berry's Reliable Resources regarding
 130.   Record of Payments - Berry Reliable
        David Brooks , President, Brooks Quality Painting       G0078057
        and Contracting; Verification of Payments - Brooks
 131.   Quality
        AJ & Tonya Brownlow, Owners Brownlow                    G0078058 –
 132.   Plastering; Verification of Payments - Brownlow         G0078061
        Dennis LaRock, CEO, Coasting Drilling and Utility       G0078062 –
 133.   Services; Verification of Payments - Coastal Drilling   G0078075
        Express Car Care, Lucky Express Car Care Services;      G0078076 –
 134.   Verification of Payments                                G0078118
        Jeffery Hinojosa, Midship Marine; Verification of       G0078119
 135.   Payments - Midship Marine
 136.   Nocito Construction; Verification of Payments           G0078120

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    #                        Description                              Bates

         Linda Moorman, Vegas Hardware; Verification of          G0078121
 137.    Payments - Vegas Hardware
         Donna Scoggins, Today's Village Coffee;                 G0078122 -
 138.    Verification of Payments - Todays Village Coffee        G0078123
 139.    Joe's Landing; Payments for Docking Boat                G0078124
         Charlotte Garr, Compliance Officer Boomtown             G0078125 –
         Casino; Patron Rating Summary in Globo (additional      G0078177
 140.    documents to be produced)
         Lawrence Oggs, Crown Buick GMC; Purchase                G0078178 -
 141.    records for Buick                                       G0078194
         Joint Motion for Stipulated Preliminary Injunction      G0021557 –
 142.                                                            G0021558
         Timothy, Henry Proffer letter                           G0021561 –
 143.                                                            G0021562
         P01248539 Rtns Proc Year 2016-2013 Spreadsheet          G0078301
         (part of Henry Timothy IRS report) [excel, 156
 144.    pages]
         Tax Due Spreadsheet (part of Henry Timothy IRS          G0078306 –
 145.    Report)                                                 G0078310
         Tax Returns prepared by Henry Timothy [Too large        G0078473 –
         to print. These documents may only be used for          G0078932
 146.    cross-examination if necessary]
         IRS Report regarding Henry Timothy with                 G0118750 –
         previously provided Excel spreadsheets Bates            G0125317
         numbered G0078195 – G0078419 (reproduction for
         purpose of capturing identification of exhibits) [Too
         large to print. These documents may only be used for
 147.    cross-examination if necessary]
         ECF 18 Plea Agreement regarding Robert Hjortsberg       G0109711 –
 148.                                                            G0109714
 149.    Form 8879 for 2016 — Robert Hjortsberg                  G0109808
         Form 1040 2013 — Robert Hjortsberg                      G0109809 -
 150.                                                            G0109825
         Form 1040 2014 — Robert Hjortsberg                      G0109826 -
 151.                                                            G0109849
         Form 1040 2015 — Robert Hjortsberg                      G0109850 -
 152.                                                            G0109867
         Form 1040 2016 — Robert Hjortsberg                      G0109868 -
 153.                                                            G0109885




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    #                        Description                            Bates

         U.S. v. Robert Hjortsberg, Criminal No. 21-9; filed   G0118441 –
         Bill of Information, Understanding of Maximum         G0118454
         Penalty and Constitutional Rights, Plea Agreement
         with Attachment A – SEALED – Cooperation
         Agreement, and Stipulated Factual Basis for Guilty
 154.    Plea
         U.S. v. Robert Hjortsberg, Criminal No. 21-9; Order   G0126164 –
 155.    signed 12/08/21 by Judge Africk                       G0126165
         Form 1040 2014 – John Bowker                          G0085914 –
 156.                                                          G0085924
         Form 1040 2015 – John Bowker                          G0085925 –
    b.                                                         G0085946
         Form 1040 2016 – John Bowker                          G0085947 –
    c.                                                         G0085964
         Form 1040 2017 – John Bowker                          G0085965 –
    d.                                                         G0085983
         Form 1040 2018 – John Bowker                          G0085984 –
    e.                                                         G0086010
         Capital One acct ending in 9003 – Becky Timothy       G0125818 –
 157.                                                          G0126045
         2018.11.09 - Kevin Conley's text to NEB               G0106600-
 158.                                                          G0106602
         2018.11.13 - Kevin Conley's email to NEB              G0106668-
 159.                                                          G0106670
         2018.11.26 - NEB's email to Kevin Conley              G0106687-
 160.                                                          G0106690
 161.    2018.12.04 - NEB's text to Kevin Conley               G0106608
 162.    NEB's text to Kevin Conley                            G0106611
 163.    2018.12.07 - Kevin Conley's text to NEB               G0106613
 164.    Kevin Conley's text to NEB                            G0106616
         2018.12.12 - Doubleday Conley LLC Financial Plan      G0106198-
 165.    DATA REVIEW for Troy Waguespack and Nicole            G0106220
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 167.                                                          G0106694
 168.    2018.12.17 - Kevin Conley's text to NEB               G0106618
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 170.    2019.01.16 - Kevin Conley's text to NEB               G0106624
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 172.    DRAFT for Troy Waguespack and NEB                     G0106279
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 178.    2019.07.25 - NEB's text to Kevin Conley           G0106650
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 180.    2019.09.25 - NEB's text to Kevin Conley           G0106655
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 188.    Loss statement for 2014                           G0001077
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 208.    dated October 28, 2013
 209.    Henry Timothy invoice dated February 8, 2013       G0078073
 210.    Henry Timothy invoice dated January 11, 2013       G0078072
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 211.    March 8, 2012
         Henry Timothy invoice to Coastal Drilling dated    G0078068
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 213.    Henry Timothy invoice dated March 8, 2013          G0078074
 214.    Henry Timothy invoice dated May 10, 2013           G0078075
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 215.    January 3, 2014
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 216.    February 6, 2014
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 217.    March 7, 2014
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 218.    April 4, 2014
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 222.    June 6, 2014
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 223.    July 3, 2014
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 224.    August 8, 2014
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                                                     Respectfully submitted:

 /s/Michael W. Magner                             /s/ Ian Atkinson
 MICHAEL W. MAGNER (#1206)                        William P. Gibbens, 27225
 AVERY B. PARDEE (#31280)                         Ian L. Atkinson, 31605
 Jones Walker LLP                                 SCHONEKAS, EVANS, MCGOEY &
 201 St. Charles Ave., Suite 5100                 MCEACHIN, L.L.C.
 New Orleans, LA 70170                            909 Poydras Street, Suite 1600
 Telephone (504) 582-8316                         New Orleans, Louisiana 70112
 apardee@joneswalker.com                          Telephone: (504) 680-6050
 mmagner@joneswalker.com                          billy@semmlaw.com
                                                  ian@semmlaw.com
 Attorneys for Nicole E. Burdett
                                                  and

                                                  Lisa M. Wayne (Pro Hac Vice)
                                                  LAW OFFICES OF LISA M. WAYNE
                                                  1775 Sherman St., Ste. 1650
                                                  Denver, Colorado 80203
                                                  Telephone: (303) 589-9745
                                                  Lmonet20@me.com

                                                  Attorney for Jason R. Williams



                                CERTIFICATE OF SERVICE

       I certify that on July 15, 2022, I electronically filed the foregoing pleading with the Clerk
of Court using the CM/ECF System, which will send a copy of the pleading to all parties via email.

                                             /s/ Michael W. Magner




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